 Case 8:22-cv-01660-AEP        Document 13      Filed 08/02/22   Page 1 of 4 PageID 48




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION



 MUTUAL OF OMAHA MORTGAGE,
 INC.,

                  Plaintiff,
                                                 Case No: 8:22-cv-01660-TPB-JSS
                    v.

 WATERSTONE MORTGAGE
 CORPORATION,

                  Defendant.
                                                /

       MUTUAL OF OMAHA MORTGAGE, INC.’S STATEMENT OF
        INTERESTED PARTIES AND CORPORATE DISCLOSURE

      Plaintiff, Mutual of Omaha Mortgage, Inc., by counsel and pursuant to Local

Rule 3.3 and Federal Rule of Civil Procedure 7.1, submits the following statement of

interested parties and corporate disclosures:

       A.      The name of each person, attorney, association of persons, firm, law
firm, partnership or corporation that has or may have an interest in the outcome of
this action – including subsidiaries, conglomerates, affiliates, parent corporations,
publicly traded companies that own 10% or more of a party’s stock, and all other
identifiable legal entities related to any party in this case:

   1. Mutual of Omaha Mortgage, Inc. (Plaintiff)

   2. Omaha Financial Holdings, Inc. (parent company of Plaintiff)

   3. Mutual of Omaha Insurance Company (parent company of Plaintiff)

   4. WaterStone Mortgage Corporation (Defendant)
 Case 8:22-cv-01660-AEP      Document 13     Filed 08/02/22    Page 2 of 4 PageID 49




   5. John A. Schifino of Gunster, Yoakley & Stewart, P.A. (Counsel for Plaintiff)

   6. Christopher L. McCall of Mitchell Sandler LLC (Counsel for Plaintiff)

   7. Aron Raskas of Gunster, Yoakley & Stewart, P.A. (Counsel for Plaintiff)

   8. Justin P. Bennett of Gunster, Yoakley & Stewart, P.A. (Counsel for Plaintiff)

   9. Alexis Deveaux of Gunster, Yoakley & Stewart, P.A. (Counsel for Plaintiff)

      B.    The name of every other entity whose publicly traded-stock, equity, or
debt may be substantially effected by the outcome of these proceedings:

           • No publicly-owned or publicly-traded entity owns 10% or more of any

             shares in Plaintiff Mutual of Omaha Mortgage, Inc. Plaintiff Mutual of

             Omaha Mortgage, Inc. is a wholly-owned subsidiary of non-party

             Omaha Financial Holdings, Inc., which is not a publicly-owned or

             publicly-traded entity. Omaha Financial Holdings, Inc. is, in turn, a

             wholly-owned subsidiary of non-party Mutual of Omaha Insurance

             Company, which is not a publicly-owned or publicly-traded corporation.

       C.    The name of every other entity which is likely to be an active participant
in the proceedings:

           • None.

      D.     Each person arguably entitled to restitution.

             1. Mutual of Omaha Mortgage, Inc. (Plaintiff)

                          CORPORATE DISCLOSURES

      Pursuant to Federal Rule of Civil Procedure 7.1, Plaintiff, Mutual of Omaha

Mortgage, Inc., states that no publicly-owned or publicly-traded entity owns 10% or
 Case 8:22-cv-01660-AEP       Document 13       Filed 08/02/22    Page 3 of 4 PageID 50




more of any shares in Plaintiff Mutual of Omaha Mortgage, Inc. Plaintiff Mutual of

Omaha Mortgage, Inc. is a wholly-owned subsidiary of non-party Omaha Financial

Holdings, Inc., which is not a publicly-owned or publicly-traded entity. Omaha

Financial Holdings, Inc. is, in turn, a wholly-owned subsidiary of non-party Mutual

of Omaha Insurance Company, which is not a publicly-owned or publicly-traded

corporation.

                                  CERTIFICATION

       I certify that, except as disclosed, I am unaware of an actual or potential conflict

of interest affecting the district judge or the magistrate judge in this action, and I will

immediately notify the judge in writing within fourteen days after I know of a conflict.

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Respectfully submitted,

                                                 /s/John A. Schifino
                                                 John A. Schifino
                                                 Florida Bar Number 0072321
                                                 Justin P. Bennett
                                                 Florida Bar Number 112833
                                                 Alexis Dion Deveaux
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 Case 8:22-cv-01660-AEP            Document 13   Filed 08/02/22   Page 4 of 4 PageID 51




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                                                       adeveaux@gunster.com
                                                 Attorneys for Plaintiff

                             CERTIFICATE OF SERVICE

       I CERTIFY that on August 2, 2022, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system which will send a notice of electronic

filing to the parties of record.

                                           /s/John A. Schifino
